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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 SUN VALLEY ORCHARDS, LLC,

                  Plaintiff,

         v.                                   Case No. 1:21-cv-16625-JHR-MJS

 U.S. DEPARTMENT OF LABOR, et al.,

                  Defendants.



                                          ORDER
      Defendants’ motion for extension of time is hereby GRANTED. Good cause ap-

pearing, it is hereby ORDERED that:

         •    Defendants’ combined opposition to Plaintiff’s partial motion for summary
              judgment and motion to dismiss/cross-motion for summary judgment
              shall be due by April 13, 2022;
         •    Plaintiff’s combined reply in support of their partial motion for summary
              judgment and opposition to Defendants’ motion to dismiss/cross-motion
              for summary judgment shall be due by May 18, 2022; and
         •    Defendants’ reply in support of their motion to dismiss/cross-motion for
              summary judgment shall be due by June 15, 2022.

SO ORDERED.


Dated: March 9, 2022                           ________________________________
                                               Hon. Joseph H. Rodriguez, U.S.D.J.
